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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division



TZANN FANG,M.D.,

                Plaintiff,

V.                                                            Civil Action No.3:19CV362


HELIX ELECTRIC,INC.,et al.

                Defendants.


                                  INITIAL PRETRIAL ORDER


         The following shall govern the progress ofthis action in addition to the provisions ofthe

Federal Rules of Civil Procedure as modified and/or enlarged upon by the Local Rules for this

Court.


                                             Trial Date


         1.     Trial is scheduled with a jury to commence on February 24,2020, at 10:00 a.m.

and continue through February 28,2020. The parties shall appear at 9:00 a.m. to address any

pretrial matters should they arise.

                                       General Instructions

         A.     Conflict with the Local Rules,Federal Rules of Civil Procedure, or Prior
                Pretrial Orders


         2.     This Order shall control if any conflict is perceived between it and either the

Federal or Local Rules. This Order shall supersede all prior Pretrial Orders that have been

entered in this matter.
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